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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


  BCS SOFTWARE, LLC,

                Plaintiff                                     Case No. 6:21-cv-0051-ADA


                v.                                            JURY TRIAL DEMANDED


   ZOHO CORPORATION

                Defendant


  UNOPPOSED MOTION TO EXTEND DEADLINES FOR PLAINTIFF’S RESPONSE
    AND DEFENDANT’S REPLY TO DEFENDANT’S MOTION TO TRANSFER

       BCS Software, Inc. (“Plaintiff”) moves the Court for an extension of the deadline for

Plaintiff to file a response and Defendant to file a reply to Defendant’s Motion to Transfer

(“Motion”). Defendant filed its Motion on March 31, 2021 [Dkt. No. 14]. Plaintiff’s response to

the Motion is currently due on May 5, 2021 [Dkt. No. 18]. Pursuant to the Court’s November

19, 2020 Standing Order Regarding Venue and Jurisdictional Discovery Limits for Patent Cases

and to allow the Parties to address venue discovery related to the allegations set forth in

Defendant’s motion to transfer to the Austin Division of the Western District of Texas, the

Parties have stipulated and agreed to extend the deadline for Plaintiff to respond to the Motion to

be up to two weeks after the completion of venue discovery, and to extend the deadline for

Defendant to reply to be up to two weeks after Plaintiff’s response. Venue discovery will be

completed before or on July 30, 2021. The parties will notify the Court when such discovery is

completed. Plaintiff agrees that it will not rely on this extension in any way as a reason to deny

the Motion.
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       Accordingly, as stipulated and agreed by the Parties, Plaintiff respectfully requests the

deadline for Plaintiff’s response to Defendant’s Motion to be up to two weeks after the

completion of venue discovery, and that the deadline for Defendant’s reply be up to two weeks

after Plaintiff’s response. Venue discovery will be completed before or on July 30, 2021.




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Dated: May 5, 2021                      Respectfully Submitted

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UNOPPOSED MOTION TO EXTEND DEADLINES
